Case 3:22-cr-30112-ECS           Document 47      Filed 01/03/24      Page 1 of 4 PageID #: 136



                              UNITED STATES DISTRICT COURT


                                 DISTRICT OF SOUTH DAKOTA


                                      CENTRAL DIVISION



 UNITED STATES OF AMERICA,                                        3:22-CR-30112-RAL


                         Plaintiff,
                                                         OPINION AND ORDER ADOPTING
                                                     REPORT AND RECOMMENDATION AND
          vs.                                             DENYING MOTION TO DISMISS


 ETHAN BLUE BIRD,

                         Defendant.




   I.        Background

          Defendant Ethan Blue Bird was indicted for violating 18 U.S.C. § 922(g)(3) by knowingly

possessing a firearm while knowingly being an unlawful user of a controlled substance. Doc. 1.

Blue Bird moved to dismiss the Indictment, Doc. 36, arguing that § 922(g)(3) is unconstitutional,

both facially and as applied, based on the Second Amendment and the United States Supreme

Court's decision in New York State Rifle & Pistol Ass'n v. Bruen, 142 S. Ct. 2111 (2022). Docs.

36, 37.

          Magistrate Judge Mark A. Moreno entered a Report and Recommendation for Disposition

ofthe Motion to Dismiss Indictment recommending this Court deny the facial challenge and bold

in abeyance or deny -without prejudice the as-applied challenge. Doc. 41 at 1, 22. Blue Bird

objected to the Report and Recommendation's legal conclusion that § 922(g)(3) is facially

constitutional. S^ Doc. 46 at 1. Blue Bird notes Judge Moreno's decision that the precedent of

the United States Court of Appeals for the Eighth Circuit is adverse to bis position, and this Court



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Case 3:22-cr-30112-ECS          Document 47        Filed 01/03/24      Page 2 of 4 PageID #: 137




is bound to follow such precedent. Nevertheless, Blue Bird relies on out-of-circuit cases to argue

that § 922(g)(3)is unconstitutional because there is no historical analog to a regulation that disarms

a person unlawfully using a controlled substance while possessing a firearm.

   II.      Standard of Review


         A district court reviews a report and recommendation rmder the standards provided in 28

U.S.C. § 636(b)(1), which states that "[a]judge of the court shall make a de novo determination

of those portions of the report or specified proposed finding or recommendations to which

objection is made. The judge may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge."

    III.    Discussion


         This Court has reviewed the Report and Recommendation de novo and agrees with its legal

conclusions. The Eighth Circuit squarely rejects the proposition that § 922(g)(3) is facially

unconstitutional. United States v. Seav. 620 F.3d 919, 925 (8th Cir. 2010). Although Seav

predates Bruen, nothing in Bruen repudiates the holding in Seav. and many other courts within the

Eighth Circuit continue to view Seav as good law and find it binding on whether § 922(g)(3) is

facially imconstitutional.    United States v. Robinson. No. 4:23-CR-40013-LLP, 2023 WL

7413088, at *4(D.S.D. Nov. 9, 2023); United States v. Pruden. No. 23-CR-42-CJW-MAR,2023

WL 6628606, at *2(N.D. Iowa Oct. 11, 2023); United States v. Cooper. No. 23-CR-2040-CJW-

MAR,2023 WL 6441943, at *4-5(N.D.Iowa Sept. 29, 2023); United States v. Alston. No. 1:23

CR 11 SNLJ(ACL),2023 WL 5959865, at *5(E.D. Mo. Aug. 26, 2023); United States v. Grubb.

No. 23-CR-1041-CJW-MAR, 2023 WL 5352000, at *3^ (N.D. Iowa Aug. 21, 2023); United

States V. Walker.No.8:22-CR-291,2023 WL 3932224,at *5(D.Neb. June 9,2023); United States

V. Le. No. 4:23-CR-00014-SHL-HCA, 2023 WL 3016297, at *2-3 (S.D. Iowa April 11, 2023).
Case 3:22-cr-30112-ECS         Document 47       Filed 01/03/24      Page 3 of 4 PageID #: 138




District courts within the Eighth Circuit are bound to follow precedential decisions of the Eighth

Circuit Court of Appeals. Hood v. United States. 342 F.3d 861, 864 (8th Cir. 2003); see also

United States v. Faust, No. 23-CR-2005-LTS-MAR, 2023 WL 4669028, at *5 (N.D. Iowa June

30, 2023). "Absent the Eighth Circuit itself finding that Bruen overturned its holding in Seay."

this Court must faithfully adhere to it as binding precedent. Grubb,2023 WL 5352000, at *4.

       Some district courts have found § 922(g)(3) to be unconstitutional. United States v.

ConnpHy No.EP-22-CR-229(2)-KC,2023 WL 2806324,at *12(W.D.Tex. Apr.6,2023); United

States V. Harrison. 654 F. Supp. 1191, 1221 (W.D. Okla. 2023). After reviewing these non-

binding, out-of-circuit decisions, however, this Court disagrees with the constrained view of

historical evidence these courts take when looking for founding-era analogs to gun restrictions.

Section 922(g)(3) is a constitutional restriction to the possession of fu-earms analogous to

founding-era statutes regulating the mentally ill, intoxicated, and lawbreakers from possessing

firearms, and therefore, does not violate the Second Amendment. See United States v. Okello,

4:22-CR-40096-KES, 2023 WL 5515828, at *3-5 (D.S.D. Aug. 25, 2023)("Section 922(g)(3)

operates for the same reason as those statutes: because habitual drug users ... are more likely to

have difficulty exercising self-control, making it dangerous for them to possess deadly firearms."

(cleaned up and citation omitted).

       Lastly, this Court cannot rule on Blue Bird's as-applied challenge before a trial on the

merits. A district court carmot rule on an as-applied Constitutional challenge without resolving

factual issues related to the alleged offense, such as the nature and scope of the defendant's drug

use and the temporal proximity ofthe drug use to his or her possession ofthe firearm.       United

States V. Turner. 842 F.3d 602,604-06 (8th Cir. 2016)(considering an as applied challenge to §

922(g)(3)). Because the resolution of such issues falls within the jury's purview, the Court must
Case 3:22-cr-30112-ECS         Document 47       Filed 01/03/24     Page 4 of 4 PageID #: 139




defer ruling on Blue Bird's as-applied challenge until after a trial. See United States v. Hoeft.

4:21-CR-40163-KES, 2023 WL 2586030, at *1(D.S.D. March 21, 2023).

   IV.      Conclusion


       For the aforementioned reasons, it is hereby

       ORDERED that Defendant Ethan Blue Bird's objections to the Report and

Recommendation, Doc. 46, are overruled, and the November 14, 2023 Report and

Recommendation, Doc. 41, is adopted. It is further

         ORDERED that Defendant Ethan Blue Bird's Motion to Dismiss the Indictment, Doc. 36,

is denied with prejudice as to the facial constitutional challenge and denied without prejudice as

to the as-applied challenge.

         DATED this 3^** day of January, 2024.
                                             BY THE COURT:




                                             ROBERTO A. LANGE
                                             CHIEF JUDGE
